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               UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW JERSEY
                                       )
  ALTISOURCE          S.À        R.L., )
  ALTISOURCE ONLINE AUCTION, )
  INC., and REALHOME SERVICES ) Hon. Anne E. Thompson, U.S.D.J.
  AND SOLUTIONS, INC.,                 )
                   Plaintiffs,         ) Civil Action No. 3:21-cv-03293-AET-
  v.                                   ) TJB
  MARTIN     SZUMANSKI,         JOEL )
  PASCUA, ANTHONY DISANO, )
  SAMARA       SANTOS,         HOLLY )
  FAGAN, 1734 N SAWYER G LLC,          )
  KICHAN LEE, EVA CHIN, 201-203 )
  E 9TH G LLC, 195 N 16TH EC LLC, )
  343-345 E 3RD G, LLC, 139 )
  WASHINGTON G LLC, 69 SOUTH )
  9TH G LLC, 540 S CLINTON G LLC, )
  273 LIBERTY AVE G LLC, )
  GEORGE        BELLINO,         AND )
  NORMAN REMEDIOS,                     )
                   Defendants.         )
                                       )


     MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT HOLLY
       FAGAN’S MOTION TO DISMISS IN LIEU OF AN ANSWER


 Of Counsel and on Brief: Robert A. Diehl, Esq.
 Motion Return Date: July 19, 2021
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                          PRELIMINARY STATEMENT
        Although Defendant Holly Fagan (“Ms. Fagan”), who only purchased one (1)

 of the subject properties for the purpose of being her primary residence and has never

 met or communicated with any of the co-defendants in this action, denies any and

 all wrongdoing and considers herself to be a victim of the conduct alleged by the

 Plaintiffs and allegedly undertaken by one (1) of the Plaintiffs’ officers, it is clear

 from the face of the Amended Complaint that the Plaintiffs’ claims against Ms.

 Fagan cannot be sustained as a matter of law. As a result, it is respectfully submitted

 that such claims must be dismissed as to Ms. Fagan pursuant to Federal Rule of Civil

 Procedure 12(b)(6) at this time.

       More specifically, given the very limited allegations made as to the Defendant

 Ms. Fagan, it is clear that the Plaintiffs cannot sustain their claims against Ms. Fagan

 as a matter of law. In this regard, it is notable that the Plaintiffs have not even

 attempted to assert a common law fraud claim against Ms. Fagan (Fourth Count),

 which speaks to Ms. Fagan’s extremely limited involvement with the events alleged

 in the Amended Complaint.          Instead, however, and despite conceding that they

 cannot sustain a common law fraud claim against Ms. Fagan, the Plaintiffs have

 sought to bootstrap claims against Ms. Fagan to those of the other defendants as

 follows: an alleged violation of the Racketeer Influenced and Corrupt Organizations

 Act (“RICO”) under 18 U.S.C. § 1962(c) (First Count); an alleged violation of RICO

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 under 18 U.S.C. § 1962(d) (Second Count); an alleged civil conspiracy (Third

 Count); an alleged violation of the New Jersey Racketeer Influenced and Corrupt

 Organization Act (“New Jersey RICO”) under N.J.S.A. § 2C:41-2 (Fifth Count); and

 an alleged New Jersey RICO civil conspiracy under N.J.S.A. § 2C:41-2d (Sixth

 Count). Given the incredible gravity of, and the significant heightened pleading

 requirements associated with, such claims, as well as the fact that the Plaintiffs have

 conceded that they cannot even sustain a common law fraud claim against Ms.

 Fagan, an analysis of each specific cause of action makes clear that the claims

 alleged as to Ms. Fagan must be dismissed at this time, with prejudice, as a matter

 of law.

       As such, it is respectfully requested that the Plaintiffs’ Amended Complaint

 be dismissed, with prejudice, as to Defendant Ms. Fagan pursuant to Federal Rule

 of Civil Procedure 12(b)(6) at this time.




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                             STATEMENT OF FACTS
         Although the Defendant Ms. Fagan expressly denies wrongdoing of any kind

 and expressly rejects and objects to the Plaintiffs’ improper allegations of criminal

 conduct in this civil proceeding, it is acknowledged that, because the present

 application has been filed as a Motion to Dismiss Pursuant to Fed. R. Civ. P.

 12(b)(6), it necessary for each of the factual allegations of the Amended Complaint

 to be accepted as true for the purposes of the present motion. Baldwin v. Hous.

 Auth., 278 F. Supp. 2d 365, 373 (D.N.J. 2003); Scheuer v. Rhodes, 416 U.S. 232,

 236, 40 L. Ed. 2d 90, 94 S. Ct. 1683 (1974)). As a result, it is respectfully submitted

 that the following relevant facts, even if accepted as true solely for the purposes of

 this motion, support the dismissal of the Amended Complaint as to Ms. Fagan at this

 time:

         1.    Defendant Ms. Fagan’s alleged involvement in this matter is extremely

 limited, as she was the purchaser of one (1) of the nine (9) properties which the

 Plaintiffs allege are implicated by the allegations of the Amended Complaint. (See,

 a true and correct copy of the Plaintiffs’ Amended Complaint attached to the

 Certification of Robert A. Diehl, Esq. (“Diehl Cert.”) as “Exhibit A,” at ¶¶81-96).

         2.    Despite alleging a general conspiracy between the defendants, the

 Plaintiffs have not, and presumably cannot, allege any actual communications




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  between Ms. Fagan and any of the co-defendants who the Plaintiffs allege were the

  wrongdoers in this action. (See, “Exhibit A” to Diehl Cert., generally).

        3.     In fact, the allegations of the Amended Complaint include only a single

  allegation of conduct which is specific to Defendant Ms. Fagan, that being Ms.

  Fagan’s execution of a Purchase and Sale Agreement for the property located at 10

  Oakland Court in Matawan, New Jersey (the “Matawan Property” or the “Home”).

  (See, “Exhibit A” to Diehl Cert., at ¶89).

        4.     In fact, despite the Matawan Property being the first property which the

  Plaintiffs allege was implicated in the alleged scheme which is the subject of the

  Amended Complaint, and despite the Plaintiffs later alleging that Defendant Martin

  Szumanski    (“Defendant     Szumanski”)         and   Defendant   Norman   Remedios

  (“Defendant Remedios”) discussed a potential problem with having one (1) specific

  Defendant, Kichan Lee, purchase too many properties, there is no allegation that Ms.

  Fagan ever participated in any conduct beyond her purchase of the Matawan

  Property which the Plaintiffs allege took place over the course of approximately

  forty-five (45) days. (See, “Exhibit A” to Diehl Cert., at ¶65 and ¶¶81-96).

        5.     Critically, the single, finite, alleged action of purchasing a single home

  does not on its own support the significant allegations set forth as to Ms. Fagan in

  the Plaintiffs’ Amended Complaint.




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        6.      Further, and in addition to the omission of any allegation specific to

  Ms. Fagan that she took part in multiple, related and continuous predicate acts, the

  Amended Complaint also omits numerous other more finite allegations, the basis of

  which certainly would have been available to the Plaintiffs had the basis to make

  any such claim existed.

        7.      Specifically, the Amended Complaint omits any allegations as to Ms.

  Fagan concerning any specific communications and/or misrepresentations she

  allegedly made, as well as any details concerning how Ms. Fagan became aware of

  the subject property which she ultimately purchased, each of which would have

  presumably been available to the Plaintiffs and included in the pleading if such

  details were in any way supportive of the Plaintiffs’ claims. (See, “Exhibit A” to

  Diehl Cert., generally).

        8.      These pleading omissions as to Ms. Fagan are relevant to the present

  motion because, despite alleging that the Plaintiffs’ own officer, specifically the

  Plaintiffs’ “Senior Manager, Asset Management – Settlement Oversight,” Defendant

  Remedios, provided a written admission of his alleged conduct, there is no specific

  allegation that Ms. Fagan was actually involved in the alleged scheme and conduct

  of Defendant Remedios and Defendant Szumanski. (See, “Exhibit A” to Diehl Cert.,

  generally).




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        9.     Instead, the Plaintiffs have simply made general and unsupported

  allegations concerning Ms. Fagan’s alleged involvement with the alleged scheme.

  (See, “Exhibit A” to Diehl Cert., generally).

        10.    Such general allegations are not sufficient to overcome the present

  Motion to Dismiss on the pleadings.

        11.    In a presumed effort to make up for such clear insufficiencies of their

  claims as to Ms. Fagan, the Plaintiffs have then attempted throughout their Amended

  Complaint to group the various defendants in the context of the pleading without a

  legitimate basis to do so.

        12.    More specifically, the Plaintiffs have made various allegations

  concerning Defendant Ms. Fagan as one (1) of the “Buyer Defendants” despite Ms.

  Fagan’s incredibly limited role in the events alleged in the Amended Complaint in

  purchasing a single property of the nine (9) properties the Plaintiffs allege are the

  subject of this action.

        13.    In fact, and again, the Plaintiffs ignore the fact that even Ms. Fagan’s

  alleged involvement is limited to a single purchase over the course of approximately

  forty-five (45) days, without any further or subsequent acts which were in any way

  related to the more global scheme alleged in the Amended Complaint.

        14.    Incredibly, and despite the extremely limited scope of even the alleged

  involvement of Defendant Ms. Fagan, the Plaintiffs then proceed to make numerous


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  allegations as to the totality of Defendants, used in the cumulative and general sense,

  thereby attempting to bootstrap claims against Ms. Fagan to those of the other

  defendants.

        15.     Such a strategy is improper, however, as the Plaintiffs cannot be

  permitted to globally conflate the extremely limited claims against Ms. Fagan, with

  those of the other defendants for pleading purposes, given the disparity in the

  allegations being made against such co-defendants.

        16.     For instance, the Plaintiffs have alleged that Defendant Szumanski was

  the “ringleader” and “mastermind” of the alleged scheme who facilitated the totality

  of alleged misconduct in the Amended Complaint, which the Plaintiffs allege

  involved the sale of nine (9) specific properties and the attempted sale of other

  properties, over a several month period. (See, “Exhibit A” to Diehl Cert., generally).

        17.     The Plaintiffs have then further alleged that their own officer and agent,

  specifically the Plaintiffs’ “Senior Manager, Asset Management – Settlement

  Oversight,” Defendant Remedios, utilized the Plaintiffs’ own business and

  confidential records for improper means in order to effectuate the alleged scheme.

  (See, “Exhibit A” to Diehl Cert., at ¶¶53-54).

        18.     The Plaintiffs have also named Defendant George Bellino (“Defendant

  Bellino”), a prior employee of Plaintiff RHSS, who the Plaintiffs allege made the

  introduction of Defendants Szumanski and Remedios and thereafter assisted them in


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  formulating and undertaking the alleged scheme through which the alleged

  misconduct took place. (See, “Exhibit A” to Diehl Cert., at ¶52).

        19.    Again, in contrast, the Plaintiffs have admitted that even the alleged

  involvement of Defendant Ms. Fagan, a New Jersey resident, was limited to the

  purchase of a single home, also located in the State of New Jersey, over the span of

  approximately forty-five (45) days. (See, “Exhibit A” to Diehl Cert., at ¶¶81-96).

        20.    Such disparity is then, in fact, admitted by the Plaintiffs, who allege at

  paragraph 76 of their Amended Complaint that “[t]he fraudulent scheme carried out

  by Defendants enabled the Buyer Defendants to purchase the Impacted Properties

  by circumventing the legitimate Hubzu bidding process and enabled the Buying

  Agent Defendants, and the Conspiring Employee Defendants to receive

  commissions and kickbacks from the property sales”, thereby drawing a clear

  distinction between the alleged fraudulent scheme and the Buyer Defendants. (See,

  “Exhibit A” to Diehl Cert., at ¶76).

        21.    Such a concession is then repeated in paragraph 272 of the Amended

  Complaint, specifically in the Fourth Count alleging common law fraud which

  intentionally omits Defendant Ms. Fagan, wherein the Plaintiffs allege that:

        Defendants Szumanski, Remedios and Bellino overtly participated in the
        agreement and plan to defraud Plaintiffs and their seller clients by knowingly
        conspiring and colluding with each other to enable the Buyer Defendants to
        purchase the Impacted Properties with the Buying Agent Defendants and the
        Conspiring Employee Defendants reaping the benefits of the sales through
        commissions and kickbacks.
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  As such, the Plaintiffs have again conceded a distinction between the alleged scheme

  which is the subject of this action and any conduct of the Defendant Buyers, with

  whom the Plaintiffs have sought to group Defendant Ms. Fagan. (See, “Exhibit A”

  to Diehl Cert., at ¶272).

           22.   While an objection is again raised to the Plaintiffs’ attempts to group

  Defendant Ms. Fagan with the other “Buyer Defendants” given Ms. Fagan’s

  incredibly limited involvement with only one (1) of the alleged events set forth in

  the Amended Complaint, it is noted that, given that the Plaintiffs have themselves

  drawn such a distinction between the alleged scheme and the “Buyer Defendants,”

  such a distinction must be considered in the context of the present motion before the

  Court.

           23.   It is also noted that, despite such disparity in claims against the various

  Defendants, the Plaintiffs’ Amended Complaint also demands that the Defendants

  all be held jointly and severally liable for treble damages under RICO and New

  Jersey RICO. (See, “Exhibit A” to Diehl Cert., at ¶4).

           24.   Again, such a pleading mechanism is improper given the significant

  deficiencies and limitations in the claims which are specific to Defendant Ms. Fagan,

  and the inability of the Plaintiffs to independently sustain their claims against Ms.

  Fagan in this action.


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        25.       As a result, and as set forth in detail herein, claims should be dismissed

  as to Ms. Fagan at this time.


                                   LEGAL ARGUMENT

        Here, even if the Plaintiffs’ allegations against Ms. Fagan are viewed as true

  solely for the purposes of the present motion, the Plaintiffs’ Amended Complaint

  must still be dismissed with prejudice as to Ms. Fagan for a failure to state a viable

  cause of action pursuant to Fed. R. Civ. P. 12(b)(6).

        “To survive a motion to dismiss, a complaint must contain sufficient factual

  matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’"

  Ashcroft v. Iqbal, 556 U.S. 662, 678, 1949 (2009) (citing Bell Atlantic Corp. v.

  Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the

  plaintiff pleads factual content that allows the court to draw the reasonable inference

  that the defendant is liable for the misconduct alleged.” Id. “Threadbare recitals of

  the elements of a cause of action, supported by mere conclusory statements, do not

  suffice.” Id.

        “The reviewing court must accept as true all well pleaded allegations in the

  Complaint and view them in the light most favorable to the plaintiff.” Baldwin v.

  Hous. Auth., 278 F. Supp. 2d 365, 373 (D.N.J. 2003) (citing Scheuer v. Rhodes, 416

  U.S. 232, 236, 40 L. Ed. 2d 90, 94 S. Ct. 1683 (1974).) “In resolving a Rule 12(b)(6)

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  motion, a court must focus its inquiry on the allegations in the Complaint, although

  matters of public record, orders, items appearing in the record of the case and

  exhibits attached to the Complaint may also be taken into account.” Id. (citing

  Oshiver v. Levin, Fishbein, Sedran & Berman, 38 F.3d 1380, 1384 n.2 (3d Cir.

  1994); Chester County Intermediate Unit v. Penn. Blue Shield, 896 F.2d 808, 812

  (3d Cir. 1990)).)

        The Third Circuit Court of Appeals has explained:
        Under Federal Rule of Civil Procedure 8, a complaint must contain a "short
        and plain statement of the claim showing that the pleader is entitled to relief."
        In Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S. Ct. 1955, 167 L. Ed.
        2d 929 (2007), the Supreme Court held that to satisfy Rule 8, a complaint must
        contain factual allegations that, taken as a whole, render the plaintiff's
        entitlement to relief plausible. Id. at 556, 569 n.14; Howard Hess Dental
        Labs., Inc. v. Dentsply Int'l, Inc., 602 F.3d 237, 246 (3d Cir. 2010); Phillips v.
        County of Allegheny, 515 F.3d 224, 234 (3d Cir. 2008). This "'does not impose
        a probability requirement at the pleading stage,' but instead 'simply calls for
        enough facts to raise a reasonable expectation that discovery will reveal
        evidence of' the necessary element." Phillips, 515 F.3d at 234 (quoting
        Twombly, 550 U.S. at 556). In determining whether a complaint is sufficient,
        courts should disregard the complaint's legal conclusions and determine
        whether the remaining factual allegations suggest that the plaintiff has a
        plausible—as opposed to merely conceivable—claim for relief. Ashcroft v.
        Iqbal, 129 S. Ct. 1937, 1949-50, 173 L. Ed. 2d 868 (2009); Fowler v. UPMC
        Shadyside, 578 F.3d 203, 210-11 (3d Cir. 2009).
  W. Penn Allegheny Health Sys. v. UPMC, 627 F.3d 85, 98 (3d Cir. 2010). Where

  fraud is alleged, however, claimants have a heightened standard, and Federal Rule

  of Civil Procedure 9 requires allegations of fraud to be made with particularity of

  the circumstances constituting the alleged fraud or mistake.


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        As set forth herein, the Plaintiffs have failed to satisfy their pleading

  obligation as to Defendant Ms. Fagan.

     A. The First Count of the Plaintiffs’ Amended Complaint Fails as to
        Defendant Ms. Fagan Because the Plaintiffs’ Cannot Sustain a RICO
        Claim as a Matter of Law
        Even accepting the Plaintiffs’ allegations as true solely for the purposes of the

  present motion, the Plaintiffs cannot sustain a RICO claim as a matter of law. As a

  result, the Plaintiffs’ First Cause of Action, which alleges a violation of RICO under

  18 U.S.C. § 1962(c), must be dismissed at this time.

        RICO makes it unlawful for “any person employed by or associated with any

  enterprise engaged in, or the activities of which affect, interstate or foreign

  commerce, to conduct or participate, directly or indirectly, in the conduct of such

  enterprise’s affairs through a pattern of racketeering activity.” 18 U.S.C. § 1962(c).

  “Because the mere assertion of a RICO claim … has an almost inevitable

  stigmatizing effect on those named as defendants, … courts should strive to flush

  out frivolous RICO allegations at an early stage of litigation.” Grant v. Turner, Civil

  Action No. 09-2381 (GEB), 2011 U.S. Dist. LEXIS 49120, at *21-22 (D.N.J. 2011)

  (reversed, in part, on other grounds) (citing Manhattan Telecomms. Corp. v.

  DialAmerica Mktg., 156 F. Supp. 2d 376, 380 (S.D.N.Y. 2001)).          This Court has

  further held that “Courts must always be on the lookout for the putative RICO case

  that is really nothing more than an ordinary fraud case clothed in the Emperor’s

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  trendy garb.” (Id.) (citing Manhattan Telecomms. Corp., supra, and Schmidt v. Fleet

  Bank, 16 F. Supp. 2d 340, 346 (S.D.N.Y. 1998)).

         In order to allege racketeering under RICO § 1962(c), a plaintiff must show

  1) an enterprise affecting interstate commerce, 2) in which the defendant was

  associated, 3) and in the conduct or affairs of which the defendant participated, 4)

  through a pattern of racketeering activities. Parness v. Christie, Civil Action No. 15-

  3505 (JLL), 2015 U.S. Dist. LEXIS 109917, at *17 (D.N.J. Aug. 19, 2015) 1 (citing

  Amos v. Franklin Fin. Servs. Corp., 509 F. App'x 165, 167 (2013)). A plaintiff must

  also demonstrate that it suffered harm as a proximate result of the RICO activity

  about which it complains. 18 U.S.C. § 1964(c).

         It is not enough to allege that a defendant is merely associated with an

  enterprise, nor may a plaintiff assert in conclusory fashion that a defendant has

  participated in the operation of the enterprise. Instead, a plaintiff must plead facts

  sufficient to establish that each defendant participated in the enterprise’s operation

  through a pattern of racketeering activity. In re Ins. Brokerage Antitrust Litig., 618

  F.3d 300, 371 (3d Cir. 2010).

         Specifically, to establish a pattern of racketeering, a plaintiff must show that

  each defendant committed at least two (2) predicate acts of racketeering within a ten


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   A true and correct copy of each unpublished decision cited herein has been attached to the
  accompanying Certification of Robert A. Diehl. Esq.
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  (10) year period. 18 U.S.C. § 1961(5). However, RICO liability does not flow from

  the commission of two (2) random and unconnected criminal acts. Liberty Bell Bank

  v. Rogers, 726 F. App'x 147, 151 (3d Cir. 2018) (citing H.J. Inc. v. Northwestern

  Bell Telephone Co., 492 U.S. 229, 239, 109 S. Ct. 2893, 106 L. Ed. 2d 195 (1989)).

  Instead, the predicate acts must be related to one another and must pose a threat of

  continuing criminal activity. (Id.)

        Here, the Plaintiffs are completely unable to sustain their RICO cause of

  action pursuant to 18 U.S.C. § 1962(c) as it pertains to Ms. Fagan.

        First, the Plaintiffs have alleged that the named Defendants, collectively,

  formed an enterprise within the purview of RICO. (See, “Exhibit A” to Diehl Cert.,

  at ¶226). Such an allegation is not proper, however, as the Supreme Court has

  explained that a RICO claim requires, as a “basic principle” to establish liability

  under RICO § 1962(c), the existence of “two distinct entities” – a person and an

  enterprise. Cedric Kushner Promotions, Ltd. v. Kind, 533 U.S. 158, 161 (2001)

  (confirming that the alleged enterprise cannot simply be the person, by a different

  name). As such, the Plaintiff has failed to properly set forth an allegation of an

  enterprise separate and distinct from the individual Defendants, as required for a

  RICO claim.




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           The remaining three (3) elements of a RICO claim also have not been satisfied

  as to Ms. Fagan. Specifically, per the Plaintiffs’ own allegations, the scope of

  involvement of Ms. Fagan, a New Jersey resident, was limited to Ms. Fagan’s

  purchase of a home in Matawan, New Jersey. (See, “Exhibit A” to Diehl Cert., at

  ¶65 and ¶¶81-96). In fact, the portion of the Plaintiffs’ Amended Complaint which

  specifically pertains to the Matawan Property, specifically paragraphs 81 through

  96, alleges no specific or affirmative action on the part of Defendant Ms. Fagan other

  than Ms. Fagan’s execution of a Purchase and Sale Agreement for the Matawan

  Property. (Id.). In contrast, each of the affirmative actions of alleged misconduct

  concerning the Matawan Property – the alleged failure to place the property back

  into auction, the alleged emails discussing the buyer and the sale of the Property, the

  alleged rejection of other offers and acceptance of Ms. Fagan’s offer, alleged failure

  to notify seller of higher bids, and alleged receipt of improper “kickbacks” – are all

  alleged as to Defendants Szumanski, Pascua, Remedios, and Bellino, not Ms. Fagan.

  (Id.).

           As a result, the remaining three (3) required elements of a RICO § 1962(c)

  claim have not been alleged as to Ms. Fagan. Specifically, the Plaintiffs have not

  substantively alleged that Ms. Fagan was, in fact, associated with the Defendants’

  alleged scheme. The Plaintiffs have also failed to allege that the Defendant Ms.

  Fagan substantively participated in any way regarding such an alleged scheme.

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  Again, per In re Ins. Brokerage Litig., supra, the Plaintiffs were obligated to plead

  with specificity and cannot rely upon such general and conclusory allegations to

  support the association and participation prongs of the Plaintiffs’ RICO claim. As a

  result, the second and third required elements for the Plaintiffs’ § 1962(c) claim have

  not been met.

        Further, the Plaintiffs have not specifically argued, nor do they have any basis

  to do so, that Ms. Fagan’s purchase of a single property constituted a “pattern of

  racketeering activities.” Again, in order to satisfy this prong, the Plaintiffs were

  obligated to show that Ms. Fagan engaged in at least two (2) related predicate acts

  of racketeering that pose a threat of continuing criminal activity. 18 U.S.C. §

  1961(5); see also, Liberty Bell Bank, supra, at 151 and H.J. Inc. v. Northwestern

  Bell Telephone Co., supra, at 239. Given that the Plaintiffs’ own Complaint

  acknowledges Ms. Fagan’s extremely limited role in this matter, the Plaintiffs

  clearly cannot satisfy this prong as a matter of law.       The Supreme Court has

  repeatedly confirmed that proof of a pattern requires a showing that the alleged acts

  of racketeering are both related and are either continuous or post a threat of

  continued criminal activity. Kehr Packages, Inc. v. Fidelcor, Inc., 926 F.2d 1406,

  1412 (3d Cir. 1991). Continuity can be either “closed-ended” or “open-ended.” H.J.

  Inc. v. Northwestern Bell Telephone Co., supra, at 241 (citation omitted). Closed-

  ended continuity refers to a completed period of repeated conduct, whereas open-

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  ended continuity “involves past conduct that by its nature projects into the future

  with a threat of repetition.” Id. at 241.

        First, the Plaintiffs have not alleged at least two (2) specific related and

  predicate acts to support this claim. Second, and potentially most importantly, the

  Plaintiffs have not claimed, nor can they, that Ms. Fagan’s limited involvement in

  the events alleged in the Amended Complaint – the purchase of a single home which,

  per their allegations was consummated in a forty-five (45) day period - constituted

  a continuing threat of criminal activity. As such, the First Count of the Amended

  Complaint fails for these reasons alone as a matter of law.

        Further, however, the Plaintiffs are also completely unable to establish the

  continuity element as required by law. Specifically, as the Plaintiffs’ have conceded

  that even Ms. Fagan’s alleged involvement in this matter was limited to the purchase

  of a single home within a forty-five (45) day period, and have further alleged that

  the Plaintiffs put a stop to the alleged conduct of the Defendants by terminating the

  Plaintiffs’ own officer who was allegedly facilitating the alleged scheme, the

  Plaintiffs’ RICO allegations are, on their face, close-ended allegations. Pursuant to

  established Third Circuit precedent, the Plaintiffs cannot sustain such a claim as a

  matter of law.




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        Specifically, to establish close-ended continuity, Plaintiffs must allege a

  “series of related predicates extend[ed] over a substantial period of time.” H.J. Inc.

  v. Northwestern Bell Telephone Co., supra, at 242. “Predicate acts extending over a

  few weeks or months and threatening no future criminal conduct do not satisfy this

  requirement” because “Congress was concerned in RICO with long-term criminal

  activity.” Id. While the Supreme Court has not defined what period of time is

  considered “substantial,” the Third Circuit has repeatedly stated that conduct lasting

  less than one (1) year does not satisfy RICO’s continuity requirement. Tabas v.

  Tabas, 47 F.3d 1280, 1293 (3rd Cir. 1995) (“Since H.J. Inc., this court has faced the

  question of continued racketeering activity in several cases, each time finding that

  conduct lasting no more than twelve months did not meet the standard for closed-

  ended continuity.”) (citing Hughes v. Consol-Pennsylvania Coal Co., 945 F.2d 594,

  610-11 (3d Cir. 1991) (alleged fraudulent conduct lasting twelve (12) months

  insufficient to establish closed-ended continuity); Hindes v. Castle, 937 F.2d 868,

  875 (3d Cir. 1991) (eight (8) month period of predicate acts without a threat of future

  criminal conduct insufficient to satisfy continuity requirement); Kehr Packages v.

  Fidelcor, Inc., 926 F.2d 1406, 1413 (3d Cir. 1991); Banks v. Wolk, 918 F.2d 418,

  422-23 (3d Cir. 1990) omitted); and Marshall-Silver Constr. Co. v. Mendel, 894

  F.2d 593 (3d Cir. 1990); See also, Germinaro v. Fid. Nat'l Title Ins. Co., 737 F.

  App'x 96, 102-103 (3d Cir. 2018) (dismissing RICO claim because nine and one-


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  half month Ponzi scheme is not substantial enough to establish closed-ended

  continuity)).

        Here, because the Plaintiffs’ Amended Complaint alleges that the

  involvement of the Defendant Ms. Fagan was limited to a period of approximately

  forty-five (45) days, which would have been based upon the Plaintiffs’ own auction

  data concerning when the subject Matawan Property was in the system for auction

  and the Plaintiffs’ own officer Defendant Remedios’ alleged admissions, the

  Plaintiffs’ claims clearly do not, and cannot, satisfy the continuity element as

  required by law.

        As a result, the First Count of the Plaintiffs’ Amended Complaint must be

  dismissed as to Ms. Fagan as a matter of law.

        It is further respectfully submitted that the manner in which the Plaintiffs’

  Amended Complaint has been drafted warrants and requires dismissal as well.

  Specifically, this Court has previously made clear that claimants should not be

  permitted to alleged RICO claims which they cannot otherwise substantiate in effort

  to intimidate defendants, which is exactly what the Plaintiffs have sought to do in

  this matter. Grant, supra, at *21-22. In fact, the Plaintiffs go so far as to make

  numerous references to alleged criminal and illegal activities throughout the

  Amended Complaint, despite the fact that this is a civil proceeding, which makes


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  clear that the Plaintiffs were intentionally seeking to stigmatize and intimidate the

  Defendants, despite the Plaintiffs’ inability to substantiate such claims or even

  litigate them in this proceeding. Such conduct or practice should not be permitted

  and the Plaintiffs’ Amended Complaint should be dismissed on this basis as well.

     B. The Second Count of the Plaintiffs’ Amended Complaint Likewise Fails
        as a Matter of Law as to Defendant Ms. Fagan
        Once the substantive allegations of the Plaintiffs’ First Cause of Action are

  dismissed, the Second Cause of Action, which alleges a conspiracy under RICO

  pursuant to 18 U.S.C. § 1962(d), must also be dismissed as a matter of law.

        Specifically, the Third Circuit has held that “any claim under section 1962(d)

  based on a conspiracy to violate the other subsections of section 1962 necessarily

  must fail if the substantive claims are themselves deficient.” Lightning Lube, Inc. v.

  WITCO Corp., 4 F.3d 1153, 1192 (3rd Cir. 1993).

        Here, this is exactly what the Plaintiffs have alleged, a conspiracy to engage

  in the conduct the Plaintiffs alleged was violative of 18 U.S.C. § 1962(c). As a

  result, the failure of the Plaintiffs’ First Cause of Action must therefore result in the

  dismissal of the Second Cause of Action as well.

        It is also noted that, in addition to not making any reference to Ms. Fagan by

  name in the Second Count of the Amended Complaint, the alleged conduct does not

  implicate Ms. Fagan in any way. Specifically, the Plaintiffs’ have alleged that the

  conspiracy for which they are seeking relief in the Second Count of the Amended
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  Complaint consisted of the following: “(a) shar[ing] confidential property

  information including property pricing information; (b) manipulat[ing] Hubzu

  auctions; (c) misrepresent[ing] property values to sellers; (d) mak[ing] each of the

  Fraudulent Representations; and (e) plac[ing] fraudulent bids on properties, all for

  the purpose of profiting from fraudulent sales of each of the Impacted Properties.”

  (See, “Exhibit A” to Diehl Cert., at ¶254). None of these allegations, however,

  pertain to conduct which the Plaintiffs allege Ms. Fagan participated in. As a result,

  even on the face of their pleading, the Plaintiffs’ conspiracy allegation does not

  implicate, and certainly cannot be substantiated as to, Ms. Fagan.

        As such, the Second Count of the Plaintiffs’ Amended Complaint must clearly

  be dismissed as to Ms. Fagan as a matter of law.

     C. The Plaintiffs’ New Jersey RICO Claims Also Fail as to Ms. Fagan as a
        Matter of Law.
        In addition to the fact that the Plaintiffs’ allegations do not support a claim

  against Ms. Fagan under New Jersey RICO, the clearly articulated purpose of New

  Jersey’s RICO statute, which focuses upon organized crime, is entirely inapplicable

  to the allegations made as to Defendant Ms. Fagan, the buyer of a single home in

  Matawan, New Jersey. As such, it is respectfully requested that such claims, which

  are specifically articulated as the Fifth and Sixth Causes of Action in the Amended

  Complaint, be immediately rejected and dismissed by this Court as to Defendant Ms.

  Fagan as well.

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        New Jersey RICO is targeted to “organized crime and organized crime type

  activities,” N.J.S.A. § 2C:41-1.1, and makes it unlawful for anyone associated with

  an enterprise engaged in or associated with commerce to participate in the conduct

  of the enterprise through a pattern of racketeering. N.J.S.A. § 2C:41-2(c).

        To establish an entitlement to relief for a violation of New Jersey RICO, a

  plaintiff must prove: 1) the existence of an enterprise; 2) engaged in or conducting

  activities affecting commerce; 3) in which the defendant was associated; 4) and

  engaged in the conduct of the enterprise’s affairs; and 5) that defendant’s

  participation in the conduct of the enterprise was done through a pattern of

  racketeering activity. Ford Motor Co. v. Edgewood Prop., Inc., 06 Civ. 1278, 06

  Civ. 4266, 2009 U.S. Dist. LEXIS 4172, at *38 (D.N.J. 2009). In addition, a private

  plaintiff seeking money damages must allege that it was injured as a result of the

  alleged New Jersey RICO violation. N.J.S.A. § 2C:41-4(c).

        Further, and also similar to the federal analysis, to specifically establish a

  pattern of racketeering, a plaintiff must establish that a defendant committed at least

  two (2) acts of racketeering activity and that the acts are continuous and related such

  as to form in combination a pattern. Kennedy Funding, Inc. v. Lion’s Gate Dev.,

  LLC, 05 Civ. 4741, 2006 U.S. Dist. LEXIS 21227, at *12 (D.N.J. 2006) (citing Mayo

  v. Pollack, 351 N.J. Super. 486, 500-501, 799 A.2d 12 (App. Div. 2002)). Acts




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  constituting racketeering are listed in N.J.S.A. § 2C:41-1(a)2. Liability under New

  Jersey RICO cannot arise because of limited, sporadic, or incidental criminal acts.

  State v. Ball, 141 N.J. 142, 168 (1995) (citations omitted). And where a plaintiff

  alleges a predicate act based on fraud, its allegations must comport with Fed. R. Civ.

  P. 9(b), meaning that it must plead its allegations with particularity. Kennedy

  Funding, supra at *13.

         Notably, this Court has also held that “[t]he virtual identity of the Federal and

  New Jersey RICO Acts permits the Court to interpret them in a consistent manner.”

  Kievit v. Rokeach, Civil Action No. 86-2592, 1987 U.S. Dist. LEXIS 16131, at *83

  (D.N.J. Oct. 29, 1987); accord Gilmore v. Berg, 761 F. Supp. 358, 375 (D.N.J.

  1991).

         Turning to the Sixth Cause of Action alleging New Jersey RICO conspiracy,

  and while the laundry list of criminal conduct which implicates New Jersey RICO is

  not reiterated herein, N.J.S.A. § 2C:41-2(d) makes it unlawful to conspire to commit

  a RICO offense. Two (2) elements are required to establish a claim for conspiracy


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    Given the fact that the mere filing of the Plaintiffs’ unsupported RICO claims has improperly
  created a public record of allegations against Defendant Ms. Fagan which cannot be substantiated
  as a matter of law, thereby subjecting Ms. Fagan to the negative stigma associated with such claims
  which this Court articulated in Grant v. Turner, 09 Civ. 2381 (GEB), 2011 U.S. Dist. LEXIS
  49120, at *21-22 (D.N.J. 2011), the list of potential racketeering activities as articulated at N.J.S.A.
  § 2C:41-1(a) has not been reiterated herein in attempt to mitigate the potential damage caused by
  the Plaintiffs’ Amended Complaint. It is respectfully submitted, however, that a cursory review
  of the conduct enumerated at N.J.S.A. § 2C:41-1(a) further articulates the level to which the
  Plaintiffs have overreached in connection with their allegations as to the Defendant Ms. Fagan and
  further supports the need for this Court to immediately reject and dismiss such claims at this time.
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  under N.J. RICO: 1) an agreement between conspirators to violate RICO which

  consists of an agreement to participate in the conduct of the affairs of the RICO

  enterprise and an agreement to commit at least two (2) predicate acts; and 2) the

  existence of a RICO enterprise. Ross v. Celtron Int’l., Inc., 494 F. Supp. 2d 288, 302

  (D.N.J. 2007) (citing State v. Ball, supra, at 176).

         Because of the significant ramifications associated with accusations of

  violations of New Jersey RICO, New Jersey courts have acknowledged a need to

  take special care in examining allegations that defendants have violated New Jersey

  RICO. Maxim Sewerage Corp. v. Monmouth Ridings, 273 N.J. Super. 84, 91, 640

  A.2d 1216, 1219 (Law Div. 1993). Specifically, New Jersey courts are to: 1)

  examine federal RICO jurisprudence when examining motions to dismiss; 2)

  examine the pleadings with care to avoid strike suits; and 3) enforce the heightened

  pleading requirements for fraud when the RICO case is built upon allegations of

  fraud. (Id.).

         Further, general and conclusory allegations are insufficient to state a claim

  under New Jersey RICO. Argueta v. United States Immigration & Customs Enf't,

  643 F.3d 60, 72 (3d Cir. 2011); see also Grippi v. Spalliero, 2008 N.J. Super. Unpub.

  LEXIS 2754, at *16 (App. Div. 2008) (affirming dismissal of N.J. RICO complaint

  because “plaintiffs failed to plead sufficient facts to support their claims” under New

  Jersey’s RICO Act); Rebish v. Great Gorge, 224 N.J. Super. 619, 627 (App. Div.


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  1988) (affirming dismissal of New Jersey RICO claim because the plaintiff failed to

  identify a specific pattern of racketeering and further failed “to distinguish whether

  a person or enterprise carried out the alleged activity[,]” each of which the Court

  found to be essential elements to the New Jersey RICO claim).

        Here, where the Plaintiffs have intentionally omitted Ms. Fagan from their

  common law fraud claims, the Plaintiffs clearly cannot satisfy their heightened

  standard under New Jersey RICO as to Ms. Fagan. More specifically, and as

  articulated in connection with the Plaintiffs’ Federal RICO claims, the Plaintiffs

  have not alleged the requisite predicate acts to substantiate a pattern of conduct as to

  Ms. Fagan. Instead, the Plaintiffs have pointed to a single alleged act, the execution

  of a Purchase and Sale Agreement for the Home, as the basis for the Plaintiffs’

  incredibly significant RICO allegations under both federal and State laws. (See,

  Exhibit A to Diehl Cert., at ¶81-96). From there, the Plaintiffs have made nothing

  beyond conclusory and general claims concerning all of the Defendants as a whole,

  without alleging, in any way, how the Defendant Ms. Fagan actually participated in

  the alleged conduct of the other Defendants. Given the level of detail to which the

  Plaintiffs have articulated their claims against certain co-defendants, going so far as

  to allege that the Defendant Remedios admitted to the alleged scheme to the

  Plaintiffs in writing and provided the Plaintiffs with his WhatsApp messages, the

  omission of any specific detail or allegation as to Defendant Ms. Fagan is telling and


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  makes clear that the Plaintiffs cannot substantiate the significant claims which they

  have sought to bring against Defendant Ms. Fagan. Given the nature of such RICO

  claims, and both the federal and state Courts’ emphasis on the fact that

  unsubstantiated RICO claims cannot be permitted to continue given the significant

  stigma associated with such claims, it is clear that the Plaintiffs’ New Jersey RICO

  claims must also be dismissed as to Defendant Ms. Fagan as a matter of law.

        As a result, the Fifth Cause of Action in the Plaintiffs’ Amended Complaint,

  which alleges a violation of New Jersey RICO under N.J.S.A. § 2C:41-2, and the

  Plaintiffs’ Sixth Cause of Action, which alleged New Jersey RICO civil conspiracy

  under N.J.S.A. § 2C:41-2d, must both be dismissed as to Defendant Ms. Fagan as a

  matter of law at this time.

     D. The Plaintiffs’ Intentional Decision Not to Pursue a Common Law Fraud
        Claim Against Defendant Ms. Fagan Further Supports the Need for a
        Dismissal of the Federal and State RICO Claims
        It is again noted that the Plaintiffs intentionally omitted Ms. Fagan from the

  Fourth Cause of Action in the Amended Complaint, which alleged common law

  fraud, and which would have carried a lower burden of proof at the pleading stage

  than the various RICO claims the Plaintiffs have instead chosen to focus upon. It is

  respectfully submitted that such an intentional omission is, in and of itself, an

  admission of the fact that the Plaintiffs cannot sustain their federal and State RICO

  claims as to Defendant Ms. Fagan as a matter of law.

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          For the Court’s reference, it is noted that the Plaintiffs have chosen to proceed

  with their common law fraud claim as to Defendants Szumanski, Remedios and

  Bellino only. (See, “Exhibit A” to Diehl Cert., at ¶¶269-280). As this Court has

  made clear, however, RICO claims, as have been made in this case, require a

  standard beyond the mere elements of common law fraud. (See, Grant, supra, at

  *21-22) (“Courts must always be on the lookout for the putative RICO case that is

  really nothing more than an ordinary fraud case clothed in the Emperor’s trendy

  garb.”). Such a heightened standard has also been articulated on the State Court

  level, with New Jersey’s Appellate Division confirming that a heightened standard

  is necessary given the gravity of New Jersey RICO allegation.              (See, Maxim

  Sewerage, supra, at 91). As a result, the Plaintiffs’ omission of the Defendant Ms.

  Fagan from their common law fraud claim is indicative of the Plaintiffs’ inability to

  substantiate their separate RICO claims as a matter of law. As a result, and while

  the Fourth Count of the Amended Complaint has omitted any claims against Ms.

  Fagan, the Count is nonetheless relevant to the present analysis before the Court and

  further supports the dismissal of each of the RICO claims as to Ms. Fagan at this

  time.




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     E. In The Absence of Any Other Cognizable Cause of Action, the Plaintiffs’
        Third Cause of Action Alleging a Civil Conspiracy Between the
        Defendants Must Also be Dismissed as a Matter of Law as to Defendant
        Ms. Fagan.
        The clear language of the Plaintiffs’ Amended Complaint, coupled with the

  Plaintiffs’ inability to support their separate RICO claims against Defendant Ms.

  Fagan, makes clear that the Third Cause of Action should also be dismissed as to

  Ms. Fagan at this time.

        Civil conspiracy consists of a “combination of two or more persons acting in

  concert to commit an unlawful act, or to commit a lawful act by unlawful means, the

  principal element of which is an agreement between the parties to inflict a wrong

  against or injury upon another, and an over act that results in damage.” Banco

  Popular North America v. Gandi, 184 N.J. 161, 174 (2005) (citations omitted).

        Here, although the Plaintiffs’ Third Cause of Action alleges an agreement by

  the Defendants to defraud the Plaintiffs, the specific allegations of the Amended

  Complaint, again even if viewed as accurate solely for the purposes of this motion,

  set forth an alleged scheme which did not, in practice, include the Defendant Ms.

  Fagan. In this regard, the Plaintiffs seem to conflate their allegation that Ms. Fagan

  was a beneficiary of the co-defendants’ alleged scheme, with any actual involvement

  of Defendant Ms. Fagan in the alleged misconduct described in the Amended

  Complaint. More specifically, the allegations of the Plaintiff’s Third Cause of

  Action focuses upon the alleged conduct of the co-defendants in manipulating the

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  Plaintiffs’ online auction system and making certain misrepresentations in

  connection with that process. (See, “Exhibit A” to Diehl Cert., at ¶¶261-269). Ms.

  Fagan is not specifically referenced in the Third Count at all, but is included within

  the Plaintiffs’ definition of “Buyer Defendants” in which the Plaintiffs attempt to

  conflate Ms. Fagan’s purchase of a single property with the other eight (8) purchases

  with which the Plaintiffs concede Ms. Fagan had absolutely no involvement. Setting

  aside the overbroad aspect of the definition for a moment, however, the Third Cause

  of Action actually argues that the civil conspiracy occurred for the benefit of the

  “Buyer Defendants” in lieu of due to any specific action of the “Buyer Defendants.”

  This distinction is critical because, and again given the level of detail in the

  Plaintiffs’ Amended Complaint, the alleged scheme alleged by the Plaintiffs

  involved efforts by Defendants Szumanski and Remedios to find buyers to whom

  the subject properties could be sold. While it is acknowledged that the present

  motion must rely solely on the Plaintiffs’ Amended Complaint, it is assumed that the

  omission of any alleged facts concerning Ms. Fagan being identified as an interested

  buyer was intentional and that the Plaintiffs will not be seeking to amend their

  Complaint further concerning the manner in which Ms. Fagan innocently learned of

  the auction for the Matawan property. As such, and again while it is acknowledged

  that the present motion must rely on the pleadings alone, the omission of such

  specific allegations as to the Defendant Ms. Fagan clearly supports the absence of


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  any cognizable cause of action based in conspiracy as against the Defendant Ms.

  Fagan.

        Separately, it also must be noted that, because it has already been shown that

  the alleged underlying wrong, the alleged RICO violations, cannot be substantiated

  as to Defendant Ms. Fagan, it is impossible for Ms. Fagan to be included as a

  Defendant in connection with an alleged conspiracy to undertake such alleged

  conduct. Accordingly, and for this reason as well, the Plaintiffs’ conspiracy claim

  as to Defendant Ms. Fagan also fails as a matter of law.

        As a result, it is respectfully submitted that the third and final Cause of Action

  as to Ms. Fagan must also be dismissed as a matter of law.

     F. The Plaintiffs Have Not Alleged Actual Harm or Injury And Therefore
        Do Not Have Standing to Bring the Present Claim.
        In order to bring a claim under 18. U.S.C. § 1964(c), a plaintiff must show

  "proof of a concrete financial loss and not mere injury to a valuable intangible

  property interest." Parness, supra, 2015 U.S. Dist. LEXIS 109917, at *19 (citing

  Maio v. Aetna, Inc., 221 F.3d 472, 483 (3d Cir. 2000)). Further, this Court has made

  clear that such a requirement is necessary in order to ensure that RICO is not

  expanded to provide a federal cause of action and treble damages to every tort

  plaintiff. Township of Marlboro v. Scannapieco, 545 F.Supp.2d 452, 458 (D.N.J.

  2008) (citation omitted); see also, Genty v. Resolution Trust Corp., 937 F.2d 899,

  918 (3d Cir. 1991).

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         Further, general or non-specific allegations of harm are insufficient to sustain

  a claim under RICO. In re Schering-Plough Corp. Intron/Temodar Consumer Class

  Action, No. 2:06-cv-5774 (SRC), 2009 U.S. Dist. LEXIS 58900, at *43 (D.N.J. July

  10, 2009) (citing Maio, 221 F.3d at 483; McLaughlin v. American Tobacco Co., 522

  F.3d 215, 228-29 (2d Cir. 2008); and District 1199P Health and Welfare Plan v.

  Janssen, L.P., 2008 U.S. Dist. LEXIS 103526, at *8 (D.N.J. Dec. 23) 2008)); see

  also Spencer Forrest, Inc. v. Folica, Inc., Civil Action No. 07-2471 (AET), 2009

  U.S. Dist. LEXIS 140118, at *16-18 (D.N.J. Feb. 11, 2009), and Wolinetz v.

  Weinstein, No. 08-5046, 2019 U.S. Dist. LEXIS 675, at *12 (D.N.J. Jan. 3, 2019).

  Allegations of injury that are merely conjectural or hypothetical do not suffice to

  confer standing. DaimlerChrylser Corp. v. Cuno, 547 U.S. 332, 344 (2006) (citing

  Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)). Further, a claim of injury

  is generally too conjectural or hypothetical to confer standing when the injury’s

  existence depends on the decision of third parties not before the Court. Simon v.

  Eastern Kentucky Welfare Rights Org., 426 U.S. 26, 41-42 (1976).

         Here, the Plaintiffs’ alleged damages are, at best, speculative.                   Despite

  alleging that they have suffered damage to their reputation and goodwill, no concrete

  example of such damage being realized has been alleged3. Further, and as it pertains



  3
   While it is acknowledged that such a decision is not binding upon this Court, the United States
  District Court for the District of Delaware previously held that such alleged losses to goodwill and
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  to the Plaintiffs’ claims that they lost increased commission payments due to the

  allegedly low sales, such allegations ignore the fact that, as articulated both in the

  Amended Complaint and the purported terms of service attached as “Exhibit A”

  thereto, the seller which the Plaintiff alleges was deprived the benefit of a higher

  sale, PHH Mortgage, is not a party to this action and, had the absolute right to reject

  any buyer, even if that buyer had made the highest bid. As a result, the Plaintiffs in

  this action have absolutely no basis to claim with confidence, nonetheless seek

  damages associated with, possible alternative sales which were never pursued and

  which could have been rejected by the seller for any, or no, reason at all. As a result,

  the Plaintiffs have not, and cannot, show any concrete damage associated with the

  allegations of their Amended Complaint and, for this reason, the Plaintiffs’ Federal

  and State RICO claims must also be dismissed both for a failure to state a viable

  cause of action and for a lack of standing, separate and apart from the complete

  absence of any basis to bring such claims specifically as to Defendant Ms. Fagan, as

  already been articulated herein.

     G. The Plaintiffs’ Unclean Hands Also Prevent the Relief Sought by
        Plaintiffs.
         Lastly, it is noted that the Plaintiffs’ Amended Complaint concedes that the

  alleged conduct which is the subject of this action was facilitated by, and would not


  business reputation are highly speculative and not permitted under Federal RICO. Parker v. Learn
  Skills Corp., 530 F.Supp.2d 661, 678 (D. Del. 2008).
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  have occurred but for, the conduct of the Plaintiffs’ officer Defendant Mr. Remedios

  and a prior employee of the Plaintiff RHSS Defendant Bellino. In making such an

  admission through their pleadings, the Plaintiffs, who again do not have standing to

  bring the present claims, implicate a myriad of other considerations, including, but

  not limited to, the Plaintiffs’ own negligence in permitting such alleged conduct to

  occur, as well as the Plaintiffs’ own liability in connection with such representations

  and claims. While such issues would certainly be addressed if this action was

  permitted to proceed, such admissions by the Plaintiffs prevent the Plaintiffs from

  recovering in this action as a matter of law.

        Specifically, and while the various allegations of criminal conduct raised by

  the Plaintiffs are expressly denied, the Plaintiffs have, in making such improper

  allegations, conceded that their officer participated and facilitated such conduct. The

  Supreme Court has held that, where a claimant under RICO has themselves violated

  RICO, the Court cannot assist in the mediation of a dispute between to the alleged

  wrongdoers. Bateman Eichler, Hill Richards, Inc. v. Berener, 472 U.S. 299, 306

  (1985). As such, and again while any misconduct on the part of Defendant Ms.

  Fagan is absolutely denied, to the extent that the Plaintiffs have alleged that their

  own officer Defendant Remedios facilitated and participated in the alleged conduct

  which the Plaintiffs have claimed violated RICO, the Plaintiffs themselves are barred

  from seeking judicial relief in connection with any such claim. As a result, and again


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  separate apart from the fact that the Amended Complaint otherwise fails as to

  Defendant Ms. Fagan, the Plaintiffs’ Amended Complaint must be dismissed as a

  matter of law due to the Plaintiffs’ unclean hands as well.

                                     CONCLUSION

        For all the foregoing reasons, the Defendant Ms. Fagan’s Motion to Dismiss

  should be granted in its entirety, as a matter of law.



                                          Respectfully submitted,

                                          BITTIGER ELIAS & TRIOLO P.C.
                                          Attorneys for Defendant, Holly Fagan




                                          By:_________________________________
                                               ROBERT A. DIEHL, ESQ.


  Dated:        June 17, 2021




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